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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION




UNITED STATES OF AMERICA

v.                               NO. 4:05CR00305-024 SWW

MARK DUANE LEE



                                         ORDER

        The   above   defendant    was   indicted    on   December    7,   2005,    and

subsequently,     the    Court    granted   the    parties’   oral    motion   for    a

psychiatric evaluation.      Defendant now is at the Federal Medical Center

in Lexington, Kentucky, for the ordered evaluation. The Warden, Stephen

M. Dewalt, has sent a letter to the Court requesting an extension for

completing the evaluation.         The Court hereby grants the request for an

extension for completion of the evaluation up to and including June 15,

2006.

        IT IS SO ORDERED this 25th day of May, 2006.



                                                 /s/Susan Webber Wright

                                            UNITED STATES DISTRICT JUDGE
